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                   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE CLARE R. KELLY, JUDGE


JSW STEEL (USA) Inc.,

      Plaintiff,

      v.                                          Court No. 19-00133

UNITED STATES,

      Defendant.


                        DECLARATION OF R. MATTHEW BURKE

       I, R. Matthew Burke, declare as follows:

               I am an attorney at the law firm Chaffetz Lindsey LLP, attorneys for Plaintiff

JSW Steel (USA) Inc. ("JSW") in this action. I am duly admitted to practice before the United

States Court of International Trade.

       2.      I respectfully submit this Declaration in support of Plaintiff's Memorandum of

Law in Support of its Motion for Judgment on the Agency Record.

               Attached hereto as Exhibit A is a compilation of Exclusion Requests and the

Decisions of the Department of Commerce concerning Harmonized Tariff Schedule of the

United States ("HTSUS") codes "72077120050" and "7224900055." I compiled this spreadsheet

from publicly available records of the Department of Commerce (the "Department").

Specifically, I compiled this information by (a) navigating to Regulations.gov; (b) searching for

"BIS-2018-0006"; (c) selecting "Featured Result —Docket ID: BIS-2018-0006"; (d) selecting

"View all documents and comments in this Docket"; (e) searching in the docket for
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"72077120050" and "7224900055"; and (~ reviewing and compiling, to the best of my skill and

ability, the public documents found therein.

         4.      These records indicate that the Department denied exclusion requests for 16.3

million metric tons of steel slab claiming that the slab "is produced in the United States in a

sufficient and reasonably available amount."

         5.      Attached hereto as Exhibit B is a true and correct copy a Press Release, issued by

U.S. Steel, entitled "United States Steel Announces Restart of Construction of Electric Arc

Furnace," dated February 11, 2019, and available at https://www.ussteel.com/newsroom/united-

states-steel-announces-restart-construction-electric-arc-furnace.

         6.      Attached hereto as Exhibit C is a true and correct copy of a Management Alert,

issued by Carol N. Rice, Assistant Inspector General for Audit and Evaluation, United States

Department of Commerce, Office of Inspector General, entitled "Management Alert: Certain

Communications by Department Officials Suggest Improper Influence in the Section 232

Exclusion Request Review Process," No. OIG-20-003-M, dated October 28, 2019, and available

at https://www.oig.doc.gov/OIGPublications/OIG-20-003-M.pdf.

         I declare under penalty of perjury that the foregoing is true and correct.

Dated:        New York, New York
              December 13, 2019
